Exhibit 1
                                 TRIAL CAUSE NO. 14467

COUNTY OF NEWTON                                §                IN THE DISTRICT COURT
                                                §
       Plaintiff,                               §
                                                §
v.                                              §                ____ JUDICIAL DISTRICT
                                                §
PURDUE PHARMA, L.P., et al.                     §
                                                §
       Defendants.                              §               NEWTON COUNTY, TEXAS

          *************************************************************

                        MDL PRETRIAL CAUSE NO. ___________
                        (MDL MASTER CAUSE NO. 2018-63587)

                                                §                IN THE DISTRICT COURT
                                                §
                                                §
                                                §
IN RE TEXAS OPIOID LITIGATION                   §               152ND JUDICIAL DISTRICT
                                                §
                                                §
                                                §
                                                §                 HARRIS COUNTY, TEXAS

          *************************************************************

                     NOTICE OF TRANSFER OF TAG-ALONG CASE

       To the Honorable Court:

       As required by Rule 13.5(e) and Rule 13.5(a) of the Texas Rules of Judicial

Administration, this notice is to inform the Court that this case is transferred as a tag-along

action to the 152nd District Court of Harris County, Texas before Judge Schaffer.




                                               1
        On April 20, 2018, Manufacturer Defendants 1 filed a Motion to Transfer six opioid-

related Texas cases and all future related Texas cases to a pretrial court under Rule 13 of the

Texas Rules of Judicial Administration. On May 1, 2018, Distributor Defendants 2 joined the

Rule 13 Motion with respect to these cases and identified two additional, related Texas cases for

transfer. On May 10, 2018, Manufacturer Defendants and Distributor Defendants filed a joint

supplement to the Motion to Transfer, identifying ten additional, related cases for transfer.

        On June 13, 2018, the Texas MDL Panel granted the Motions to Transfer in Docket No.

18-0358, styled In re Texas Opioid Litigation. (Order Granting Motions to Transfer, attached at

Appendix C.) On June 18, 2018, the Texas MDL Panel appointed the Honorable David Peeples,

Senior Judge of the 224th District Court of Bexar County, as the pretrial judge for the Texas

Opioid Litigation MDL and transferred “all pending cases, together with any tagalong cases, to

him.” (Appointment of Pretrial Judge, attached at Appendix D.)

        On August 25, 2018, Judge Peeples recused himself. (Order of Voluntary Recusal,

attached at Appendix E.)          On September 5, 2018, the MDL Panel reassigned the MDL

proceeding to Judge Robert Schaffer, ordering that “the cases listed in the Appendices of the

Motions for Transfer and all tag-along cases are transferred to Judge Robert Schaffer of the

152nd District Court of Harris County.”               (Order Appointing Pretrial Court, attached at

Appendix F.)


1
    The Manufacturer Defendants that filed the April 20 motion were Purdue Pharma L.P.; Purdue Pharma Inc.;
    The Purdue Frederick Company Inc.; Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals,
    Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a
    Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health
    Solutions Inc.; Endo Pharmaceuticals Inc.; Knoll Pharmaceutical Company, a wholly-owned subsidiary of
    AbbVie Inc.; AbbVie Inc.; Watson Laboratories, Inc.; Actavis LLC; and Actavis Pharma, Inc. f/k/a Watson
    Pharma, Inc.
2
    The Distributor Defendants that filed the May 1 motion were AmerisourceBergen Drug Corporation, McKesson
    Corporation, and Cardinal Health, Inc.




                                                      2
       This case is a tag-along action within the meaning of the Texas Rule of Judicial

Administration 13.2(g).

       Upon filing this notice of transfer with the Transfer Order, this case is deemed transferred

from the trial court to the MDL Pretrial Court pursuant to Rule of Judicial Administration

13.5(e). The effect on a trial court of filing this Notice of Transfer is further discussed in Rule

13.5(b).

       As required by Rule 13.5(a), attached at Appendix A to this notice is a list of all parties

who have appeared and remain in the case, and the names, addresses, phone numbers, and bar

numbers of their attorneys.

       Attached at Appendix B to this notice is a list of all parties who have not yet appeared in

the case.

Dated: January 7, 2019                           Respectfully submitted,


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                                                3
                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing instrument was filed using the
Court’s electronic filing manager, which will transmit electronic service to all counsel of record
registered to receive service. I further certify that a true and correct copy of the foregoing
instrument was served via email on the following counsel on January 7, 2019:

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                                      11
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              John Tai Dang, M.D.

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                                                    /s/ Stephen E. McConnico
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                                              12
                      APPENDIX A

LIST OF PARTIES WHO HAVE APPEARED AND REMAIN IN THE CASE




                           13
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                                             14
                       APPENDIX B

LIST OF ALL PARTIES WHO HAVE NOT YET APPEARED IN THE CASE




                           15
                     Parties Who Have Not Yet Appeared

Endo Health Solutions Inc.
Endo Pharmaceuticals, Inc.
Purdue Pharma, L.P.
Purdue Pharma, Inc.
The Purdue Frederick Company




                                    16
            APPENDIX C

ORDER GRANTING MOTIONS TO TRANSFER
          ORDER OF MULTIDISTRICT LITIGATION PANEL

                          Order Pronounced June 13, 2018


    THE MOTION FOR TRANSFER IN THE FOLLOWING MULTIDISTRICT
                  LITIGATION CASE IS GRANTED:


18-0358      IN RE TEXAS OPIOID LITIGATION

      Defendants Purdue Pharma L.P., et al. and McKesson Corporation, et al. joint
      motions to transfer under Rule 13 of the Texas Rules of Judicial Administration
      are granted. The panel will issue a second order at a later date naming the judge
      to whom the cases will be transferred.


                   Justice Brown delivered the opinion of the MDL Panel.
          APPENDIX D

ORDER APPOINTING JUDGE PEEPLES
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued June 18, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


                                                                      224th District Court of
   The panel hereby appoints Judge David Peeples, senior judge of the 224th

Bexar County, previously approved by the Chief Justice pursuant to Administrative Rule 13.6, as

pretrial judge in the captioned proceeding and transfers all pending cases, together with any

                   him.
tagalong cases, to him
        APPENDIX E

ORDER OF VOLUNTARY RECUSAL
                                    No. 2018-CI-12812
                                             *              IN THE DISTRICT COURT
                                             *
                                             *
 IN RE TEXAS OPIOID                          *              225TH JUDICIAL DISTRICT
      LITIGATION                             *
                                             *
                                             *                BEXAR COUNTY, TEXAS



                          ORDER OF VOUNTARY RECUSAL



       On August 3, while reading and preparing for the initial hearing in the captioned

litigation, the court noticed that one of the opioid drugs at issue had been used by the

court's wife in 2016. The court confirmed this recollection by discussing it with his wife

and by locating the bottle of remaining pills that were prescribed for her in May 2016.

       On the following day the court notified liaison counsel of this discovery and

summarized for them the circumstances of his wife's use of the opioid pills. The court

expressed concern that he was an eye witness to events involving the prescribing and use

of an opioid similar to some of the contested issues in the captioned litigation. The court

further stated that recusal might be required by Rule 18b (b), which says: "A judge must

recuse in any proceeding in which: . . . (3) the judge has personal knowledge of disputed

evidentiary facts concerning the proceeding."

      The court and liaison counsel agreed that the parties should be given the oppor-

tunity to waive this possible ground for recusal pursuant to Rule 18b (e) ("parties to a
proceeding may waive any ground for recusal after it is fully disclosed
                                                              disclosed on the record"),

but not all parties have agreed to waive the issue.

       The court has concluded that the prudent course of action is to recuse voluntarily.

The court therefore issues this order of voluntary recusal from the captioned litigation

and from MDL Cause No. 18-0358, In Re Texas Opioid Litigation. The
                                                               The MDL Panel Chair

has been notified of this recusal, and another judge will be assigned.

SIGNED: August 25, 2018



                                                       JUDGE DAVID PEEPLES




                                            2
           EXHIBIT F

ORDER APPOINTING JUDGE SCHAFFER
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued September 5, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


   The Manufacturer Defendants Purdue Pharma L.P., et al. and the Distributor Defendants

McKesson Corporation, et al.'s
                         al.’s Motions to Transfer were granted on June 13, 2018. Pursuant to

Rule 13 of the Texas Rules of Judicial Administration, the cases listed in the Appendices of the

Motions for Transfer and all tag-along cases are transferred to Judge Robert Schaffer of the 152nd
                                                                                                nd



District Court of Harris County.
